           Case
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DONALD J. TRUMP,
                                 Plaintiff,

 - against -                                            Case No. 1:19-cv-08694-VM

 CYRUS R. VANCE, JR., in his official capacity
 as District Attorney of the County of New
 York; SOLOMON SHINEROCK, in his
 official capacity as Assistant District Attorney
                                                                                                i
 for the County of New York;
                                                            ELECTRONICALLY FILF.n !
 and

 MAZARS USA, LLP,
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                                                                              ;•,:rwr.
                                                                                 ,


                                 Defendants.

                           ORDER FOR ADMISSION PRO HAG VICE
        The motion of William Consovoy for admission to practice pro hac vice in the above-captioned

action is granted.

        Applicant has declared that he is a member in good standing of the bars of Virginia and the

District of Columbia, and that his contact information is as follows:

        William S. Consovoy
        CONSOVOY MCCARTHY PLLC
        1600 Wilson Blvd., Ste. 700
        Arlington, VA 22209
        (703) 243-9423
        will@consovoymccarthy.com

Applicant having requested admission pro hac vice to appear for all purposes as counsel for Plaintiff in

the above-entitled action;

        IT IS HEREBY ORDERED that Applicant is admitted to practice pro hac vice in the above-

captioned case in the United States District Court for the Southern District of New York. All attorneys

appearing before this Court are subject to the Local Rules of this Court, including the Rules governing

discipline of attorneys.


                                                          SO ORDERED.
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